    Case: 1:20-cv-00263-TSB Doc #: 13 Filed: 11/05/20 Page: 1 of 1 PAGEID #: 96




                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

 BONNIE HENDRICKS, on behalf of
                              :                       Case No. 1:20-cv-263
 herself and all others similarly situated,
                              :
                              :                       Judge Timothy S. Black
      Plaintiff,              :
                              :
 vs.                          :
                              :
 TOYOTA MOTOR CORPORATION, et :
 al.,                         :
                              :
      Defendants.             :

                          ORDER GRANTING
             STIPULATED MOTION TO TRANSFER VENUE (Doc. 12)

       This civil action is before the Court on the parties’ joint stipulated motion to

transfer venue (Doc. 12). For good cause shown, that motion (Doc. 12) is GRANTED.

       Accordingly, pursuant to 28 U.S.C. § 1404(b), IT IS ORDERED that the above

captioned case be TRANSFERRED to the Sherman Division of the United States

District Court for the Eastern District of Texas for reassignment to a Judge at that

location.



Date: 11/05/2020                                             /s/ Timothy S. Black
                                                             Timothy S. Black
                                                             United States District Judge
